                  Case: 25-1677
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                                           APPEALS  1   Date
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                                                             THIRD 05/06/2025
                                                                     CIRCUIT

                                                   No. 25-1677

                        Atlas Data Privacy Corp., et. al.   vs. Greenflight Venture Corp., et. al.

                                               ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:
 Greenflight Venture Corp.
Indicate the party’s role IN THIS COURT (check only one):
          ✔ Petitioner(s)
         ____                            ____ Appellant(s)                ____ Intervenor(s)

         ____ Respondent(s)              ____ Appellee(s)                 ____ Amicus Curiae

(Type or Print) Counsel’s Name Jared  M. Wichnovitz, Esq.
                               ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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Additional E-Mail Address (2)
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SIGNATURE OF COUNSEL: /s/ Jared M. Wichnovitz

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PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
